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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    4:12CR3021

       vs.
                                                              DETENTION ORDER
JARED LANCE HOWE,

                      Defendants.


        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.

       Specifically, the court finds that the defendant violated the terms of his pretrial release,
has entered his plea of guilty, and no conditions or combination of conditions are currently
available which will sufficiently ameliorate the risks posed if the defendant is released.


                                 Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       April 4, 2013.

                                                     BY THE COURT:

                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
